             Case 3:18-bk-01164-JAF      Doc 34    Filed 04/24/18    Page 1 of 4



                                     ORDERED.


     Dated: April 24, 2018




                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION
                               www.flmb.uscourts.gov

In re:                                             CASE NO.: 3:18-bk-01164-JAF

EIHAB H. TAWFIK, M.D., P.A.,                       CHAPTER 11

            Debtor.
______________________________/

                     INTERIM ORDER GRANTING DEBTOR’S
                      MOTION TO USE CASH COLLATERAL
                  AND NOTICE OF FINAL EVIDENTIARY HEARING


         THIS CASE came on for an emergency preliminary hearing on April 16, 2018 (the

“Hearing”) upon the Emergency Motion to Use Cash Collateral filed by Eihab H. Tawfik, M.D.,

P.A. (the “Debtor”), on April 12, 2018 (Doc. No. 9) (the “Motion”). The Motion seeks authority

to use cash collateral and to provide adequate protection to Central Bank (“Central”). Upon

consideration of the Motion, the evidence presented, and the positions of the parties at the

Hearing, it is
            Case 3:18-bk-01164-JAF         Doc 34     Filed 04/24/18    Page 2 of 4



       ORDERED:

       1.      Interim Authorization Granted. The Motion is GRANTED on an interim basis as

provided herein.

       2.      Cash Collateral Authorization. Subject to the provisions of this order, the Debtor

is authorized to use cash collateral to pay: (a) amounts expressly authorized by this Court,

including payments to the United States Trustee for quarterly fees; (b) the current and necessary

expenses set forth in the budget attached as Exhibit “A” attached hereto, plus an amount not to

exceed ten percent (10%) for each line item (provided no amount shall be disbursed for pre-

petition sales tax, absent proper application and entry of an order by the Court); and (c) such

additional amounts as may be expressly approved in writing by Central. This authorization will

continue until further hearing on the Motion. Except as authorized in this order, the Debtor is

prohibited from use of cash collateral. Additionally, before the expiration of the interim period,

Debtor shall pay Central the amount of Fifteen Thousand Dollars ($15,000.00) as adequate

protection, with such amount being to the parties’ loan as set forth under the loan documents.

       3.      Debtor Obligations. The Debtor shall timely perform all obligations of a debtor-

in-possession required by the Bankruptcy Code, Federal Rules of Bankruptcy Procedure, and the

orders of this Court.

       4.      Access to Records and Premises. Upon reasonable notice, and provided that it

does not unreasonably interfere with the business of the Debtor, the Debtor shall grant Central

access to the Debtor’s business records and premises for inspection.

       5.      Replacement Lien. Central shall have a perfected post-petition lien against cash

collateral to the same extent and with the same validity and priority as their respective




                                                2
               Case 3:18-bk-01164-JAF                Doc 34       Filed 04/24/18          Page 3 of 4



prepetition liens, without the need to file or execute any document as may otherwise be required

under applicable nonbankruptcy law.

         6.       Insurance.       The Debtor shall maintain such insurance necessary to protect

Central’s interests in its personal property and cash collateral.

         7.       Without Prejudice. This Order is without prejudice to: (a) any subsequent request

by a party-in-interest for modified adequate protection or restrictions on use of cash collateral; or

(b) any other right or remedy which may be available to Central.

         8.       Creditors Committee. The provisions of this Order are without prejudice to the

rights of the United States Trustee to appoint a committee or any rights of a duly-appointed

committee to challenge the validity, priority, or extent of any lien(s) asserted against cash

collateral.

         10.      Enforcement. The Court shall retain jurisdiction to enforce the terms of this

Order.

         11.      A final evidentiary hearing on use of cash collateral will be held on

May 24, 2018 at 1:30 p.m. before the Honorable Jerry A. Funk, United States Bankruptcy Judge,


at the United States Bankruptcy Court, 300 North Hogan Street, 4th Floor, Courtroom 4D,


Jacksonville, FL 32202.


Attorney Justin M. Luna is directed to serve a copy of this order on interested parties and file a proof of service
within three (3) days of entry of the order.




                                                           3
                                     Case 3:18-bk-01164-JAF        Doc 34     Filed 04/24/18       Page 4 of 4


Eihab H. Tawfik, M.D., P.A.

Week Of:                                         April 8, 2018          April 16, 2018         April 23, 2018         April 30, 2018

Income
  Revenue                                              $87,500.00             $87,500.00             $87,500.00             $87,500.00

Total Income                                           $87,500.00             $87,500.00             $87,500.00             $87,500.00

Expenses
 Payroll Taxes & Fees                        $         50,000.00    $                -     $          90,000.00   $                -
 1099 Payroll                                $               -                             $          10,000.00
 Medical Billing Processor                   $          2,625.00    $          2,625.00    $           2,625.00   $           2,625.00
 Radiology Reading                           $               -      $         15,000.00                           $          15,000.00
 Supplies                                    $         12,500.00    $         12,500.00    $          12,500.00   $          12,500.00
 Utilities                                   $          2,500.00    $          2,500.00    $           2,500.00   $           2,500.00
 Technical Support/Internet/Phones           $               -      $          8,000.00    $                -     $                -
 Property Insurance                          $               -      $         15,000.00    $                -     $                -
 Malpractice Insurance                       $               -      $               -      $                -     $          20,000.00
 Celebration Office Rent                     $               -      $               -      $                -     $           5,500.00
 Springhill Office Rent                      $               -      $               -      $                -     $           3,200.00
 Ocala Office Rent                           $               -      $               -      $                -     $           1,700.00
 Equipment Maintenance                       $          2,500.00    $          2,500.00    $           2,500.00   $           2,500.00
 Crystal River Rent                                                                                               $          34,300.00
Total Building Expenses                      $         70,125.00    $         58,125.00    $        120,125.00    $          99,825.00

Cash Balance
Beginning Cash Balance                       $         70,000.00    $         87,375.00    $        116,750.00    $          84,125.00
 Receipts                                    $         87,500.00    $         87,500.00    $         87,500.00    $          87,500.00
 Expenses                                    $         70,125.00    $         58,125.00    $        120,125.00    $          99,825.00
Ending Cash Balance                          $         87,375.00    $        116,750.00    $         84,125.00    $          71,800.00
